 

 

 

lN THE ClRCUlT COURf FOR PlNELLAS COUNTY FLOR|DA
§ ClRCUlT ClVlL NO ( § 2 § 5
WlLLlAi\/l R. NOBLE JR

C;2 ~ C;::Q
’ utm#$zzotiz;& 0/ 15253510<______5;3:
Plaintiff, '

VS.

PR|SON REHABlLlTATlVE lNDUSTR|ES AND

"~" 1112
53 \ § '1~1 _
DivERsii=iED ENTERPRisEs,iNc. 11.\?§ ‘;3 §‘~11
<;i/b/a PRii:)E ENTERPRisEs;ii\ii:)usTRiEs (E§, .o 119
TRAiNiNe coRPoR/-\Tioi\i; and Toooivi A;;\§ 11- 11
i\/iEzRAH&AssociATEs ir\ic. d/b/a i\/iEzRAH §§ §§_§ ‘I §
coi\isuLTii\ic . 1:3 §§ §§ 37
34 \‘
l Defendants.
' - /

 

COlVlPLAlNT AND DEMAND FOR' JURY TR|AL

 

Plaintiff Wll_LiAl\/l R NOBLE, JR, by and through his undersigned attorneys
sues Defendants, PR|SON REHAB|L|TAT|VE

lNDUSTRlES AND D|VERS|F|ED
ENTERPR|SES iNC a Florida non-profit corporation d/b/a PRIDE ENTERPR|SES

(“PR|DE”) lNDUSTRlES TRAlNlNG CORPORAT|ON a Florida non profit corporation

(“lTC"), and TODD l\/l. l\/lEZRAH & ASSOC|ATES, lNC., a Florida corporation d/b/a
l\/lEZRAH CONSULTlNG, (“l\/lezrah"), and alleges that:

GENERAL ALLEGAT|ONS
‘l. This is an action for damages in excess of $15 000 exclusive of interest
costs and attorney’s fees
2.

PRlDE is a Florida non profit corporation doing business as Pride
Enterprises in Pinel|as County, Florida
4.

lTC is a Florida non profit corporation doing business in ljinellas County,
Florida. PR|DE operated and controlled lTC

'1€<>~\1»1\1@
§

__A____

 

 

 

Case 8:'07-cv-02369-RN_-EA.] DocumentZ Filed`12/28/0`7` i-’agez"of`s©"Hag'ei`D`Szi'"'."`"'""' '

_5§/
~'; ft

     

5 l\/lezrah is a Florida corporation doing business in Hillsborough County,
Florida,

6. v l PR|DE and lTC were'and are the alter egos and mere instrumentalities of
each other, ignoring their purported separate corporate identities, sharing and
transferring between the two assets without regard to ownership, being controlled by
persons holding officerships and duties in both entities and otherwise engaging in
" improper conduct in the use of~the corporations’ identities and operations Defendants
failed to observe corporate formalities, did not recognize the existence of lTC as a
corporation in their own dealings, and did not operate independently of each`other.

7. On or about October 'i, 200'i, PR|DE_ and`iTC, created a Supplemental
Executive Retirement Plan (“SERP”) of which Plaintiff became a vested participant a
copy of which is attached as Exhibit ”t”.

k 8. On or about l\/larch 14, 2002, Pamela Jo Davis, then President of PRlDE
and |TC, executed a Separation Agreement and Release (“Separation _Agreement”) with
Plaintiff on behalf of said defendants and their present, past, and future affiliates,
predecessors, heirs, successors, assigns, insurers, employers, parents, and '
subsidiaries, a copy of which is attached as Exhibit “".2 Paragraph 10 of the Separation
Agreement states “lTC/PR|DE agrees‘that Nob'le shall maintain his vested interest in
lTC’s SERP plan”.

9. On or about |\/larch 14, 2002, prior to his execution of the Separation
Agreement, Plaintiff contacted i\/lezrah,v the administrator of the SERP. i\/lezrah

informed Plaintiff that his SERP funds had been placed in a trust fund. Said Defendant

 

Case 8:'07-cv-02369-|'?KL-EA.] Document 2 Filed 12/28/0/ Page 5 or 50 PageiL) so

0

also informed Plaintiff that the programwas guaranteed and that nothing would affect

‘,`.."..

   

the program as it related to Plaintiff.
1 10. Plaintiff relied upon said representations of l\/lezrah in executing the
Separation Agreement.

11. On or about November 21, 2006, Plaintiff contacted ER|DE toadvise of’a
change of his address. PRIDE informed Plaintitf that the SERP had been terminated in
l\/larch of 2005. y _

12. 40n or about l\/larch 12, 2007, l\/lezrah informed Plain_tiff that the SERP was
terminated around l\/larch 2005 and that l\/lezrah had a difficult time contacting
iTC»/PRiDi":"1 personnei.

13. All conditions precedent necessary to the maintenance of these causes of
action have occurred, been performed , excused, or waived .

14. Plaintiff has employed the undersigned attorneys and is obligated to pay
them a- reasonable -fee’for` their services rendered herein. _

1 y `COUNT l --ClVlL ENFORCEN|ENT ACTlON
_ § UNDER _2_9 U.S.C § 1132(3)(1)(|3) (ERISA)

15. Plaintiff realleges paragraphs 1 through 14 above.

16. As a'vested participant in the SERP,» Plaintiff is authorized under 29
U.S.C. § 1132(a)(1)(B) to bring a‘civil action to recover benefits due under the terms of
the employee benefit plan of.which he was a participant

n 17. Article Vll section (b)(2) of the SERP states that “upon termination of the
plan the Participants (ortheir Eeneficiaries) shall be paid in a lump sum equal to the
Actuarial Present Value of the Partic_ipant’s Accrued Benefit, as soon as administratively

practicable following 'termination”.

 

 

0Cas'e s:'o?-cv-oz§e's?§ht-EAJ Documem 2 ' i=iie'd 12/23/07 Page 21 or 30 PageiD ss

».~l.

   

18. The SlERP was terminated on or about |\/larch of 2005 and, to date,
Plaintiff has not received his compensation as required by 'Article Vll of the SERP.

' "WHEREF;OR`E, Plaintiff W|LL|Al\/l R. NOBLE,‘ JR-`.,'demands judgment against
Defendants, PRlDE and lTC,“joint'ly and severally, for compensation owed under the
SERP, interest, court costs,’ reasonable _attorney’s fees and for such other relief as the
'Court deemsappropriate.t
n couNT i`i - BREAcH oF coNTRAcT

19. .Plaintiff realleges paragraphs 1 through 14 above.

20. _ PR|DE rand lTC have breached the Separation Agreement by failing to
comply with paragraph 10. Specificaily, PRlDE and lTC breached the Separation
Agreement by terminating or permitting the termination of the_SERP in or about l\/larch
2005 without compensating Plaintiff for his interest guaranteed by paragraph 10 of the
Separation Agreement.

21. As a result, Plaintiff has been materially injured.

WHEREFORE, Plaintiff, Wll_LlAi\/l R. NOBLE,'JR., demands judgment against
Defendants, PR|DE' and lTC, jointly and severally, for damages, interest, court co'sts,
reasonable attorney’s fees, and for such other relief as the Court deems appropriate.

COUNT lll - NEGL|GENT NllSREPRE_Sl_§NTAT|ON

22. Plaintiff realleges paragraphs 1 through 14 above.

23. y l\/lezrah in the course of its business, supplied false information for the
guidance of Plaintiff regarding his interest and due compensation under the SERP.
Specitical|y, - on or about l\/larch 1'4, _2002, l\/lezrah negligently made false

representations to Plaintiff regarding the placement of P|aintiff’s SERP funds in a trust.

 

 

Case 8:`07-cv-02369-RA\L5E761:]" Document 2 Filed 12/28/07 Page 5 ot 50 PageiL) 5'/

 

Furthermore, l\/lezrah negligently informed Plaintiff that the program was guaranteed
and that nothing would'affect»the program as it- related to Plaintiff.

24. Plaintiff relied'onk said representations to his detriment and as a direct
result was materially injured. -

WHEREF-ORE, Plaintiff, W|LLlAM R. NOBLE, JR., demands judgment against
Defendant, Mezrah, for damages, interest, court costs,`,_and for such other relief as the

Court deems appropriate.

DEMAND FOR JURY TR|AL
Plaintiff demands trial byjury on all claims so triable'.

owed thist£l/’f) pay 01 November, 2007.

   

 

.WElN, ESQUIRE

14/'SPN: 2562

BATTAGL|A, ROSS, DlCUS 81 WEIN, P.A.
980 Tyrone Boulevard

Post Office Box 41100. ,

St. Petersburg, Florida 33743-1100
Telephone No. (727) 381'~2300

Facsimile No. (727) 343-4059

‘ ATTORNEYS FOR PLAlNTlFF
0T0201/440505

.....

    
 

§
31

if
hugju;¥vd* .

111 '

.{.,__

 

 

 

base szo?-év-ozsse-RA`|_’-"€A'j"`bocument 2' Filed 12/23/07 P`age 6 of 30_PagelD ss
4 §§ "_a-._\.~Y

lNDUSTRlES TRAIN|NG CORPORAT|ON
SUPF_’.LEM_ENTAL EXECUT{VE RET|RE_MENT PLAN

EFFECT{VE

_AS OF
OCTOBER 1, 2001
\
EXHlBlT
KALisH & WARD, P.A. j-

TAlVlPA, FL

 

 

 

"“E;ase szo?-cv-ozsee-`Fa`AE-’E'AU" Document§ `Filed 12/23/07" Page 7 of 30 PagelD 39

   

lNDUSTRlES TRA|N!NG~CORPORAT!ON
SUPPLEN|ENTAL EXECUT|VE RET|REMENT PLAN

EFFEchvE
As oi=
oc'rerR 1, 2001-
. . Pag¢
AnTchEi a 'Derinittons .......................... , .................. t .......... 11-1
AchL'E `n . Admmlstranon iii-1
Aa'ricLE m `Eiigibiliry and Parricipanon ...................................................... lv-1
ARTlCLE lV Benefits ....................................................................................... V-1
AarchE v Fmancmg ........... ` .......................... v 1-1
ARTchE vi Amenamem and Termination ................................................. vii-1

AHTlCLE Vll l\lliscellaneous ................. Vlll~1

 

 

 

ease ezo?-cv-ozsee-F€AIT§:§§ Documemz titled 12/28/”0"7';'$5 "é'*e'.ot§o:r‘>agelo";ow

lNDUSTRlES TRAlNiNG. CGRPGRAT|CN
SUPPLEN|ENTAL EXECUT|VE RET|REMENT PLAN -'

 

PURPOSE

industries Training Corporation (the "Employer") hereby establishes, effective as
of_ October ‘l,~ 2001 the industries Training Corporation S~upplemental Executive
Retirement Plan (the “Plan") to retain and reward a select group of management or
highly compensated employees of the Empioyer or a Ftelated Employer. The Plari is an
unfunded plan established and maintained for the primary purpose of providing certain
key employees who substantially contribute to the success of the Employer or a Related
Employer'with the opportunity to defer the receipt of compensation The Plan is a non-
qualified deferred compensation plan that is intended to be governed by Section 457(f)
of the Code. `

ARTlCLE ll
~» . Definitions

Whenever used hereinafter, the following terms shall have the meaning set forth
below. ' "

(a) "Accrued Benefit" shall mean, at any particular time, a'Participant’s
supplemental retirement benefit based on his Years ot Service and Highest Average'
Compensation, as described in paragraph (a) of Article lV; provided, however, that a
Partlcipant with less than 10 Years of Service shall have no Accrued Benefit under the '
Plan. ' - ' '

(b) ”Actuarial Eguivalent" shali mean a benefit of equivalent current value to
the benefit that would otherwise have been provided to the Participant, determined in
accordance with the rules established by the Plan Administrator and on the basis of the
actuarial methods and actuarial assumptions set forth in the Pride Define_d Benetit
Pension Plan. `

(c) "Actuarial Present Value“t~"shall mean, with respect to__ determining the
amount ot a lump sum amount under this Plan, an amount determined by using a nine
percent (9%) discount rate. ’

(d) "Beneficiary" shall mean the person or persons designated by a Participant
in writing who are to receive.any benefits under the Plan after the Participant‘s death. lt
the Participant does not select a Beneficiary under this Plan on forms provided for that
purpose, the Participant's Beneticiary shall be the Participant‘s estate.

(e) "Code" shall mean the internal Revenue Code of 1986, as it may be

amended from time to time, or any successor statu_te. Fteterence to a specific section of
the Code shall include a reference to any successor provision.

il-il

--~-Case%f@%cv=€%&§=RAt=EA:¥ 'D'ocume'nt~.%~*t;ited~l?f?$f®?~" ‘Pagera~ofcstrf’agel D""drl~?'*'"“'”~“~

   

(f) ”Comgensati'on" shall,mean wages received by a' Participant' from the
Employer or a Ftelated` Employer that are reportable on Forrn W-2, plus any salary
reduction contributions made pursuant to a plan described in Section 125 Section 401(1<)
or S_ection 403(b) of the Code.

(g) "Consulting Obliqation" shall mean the obligation of the Participan_t to
perform consulting services for the Employer or a Ftelated Employer for a term agreed to
pursuant to paragraph (h) of Article lV (not to exceed 5 years), commencing on the last
day of his Vesting Period, for a minimum of 250 hours during each year thereof

(h) "Constructive Discharg_" shall mean the voluntary termination of
employment of a Participant on account of: -

(1) A reasonable determination by the Participant that, as a result of a
change in circumstances significantly affecting the Participant‘s position, the
Participant is unable to exercise the authority, power, function or duties attached
to the Participant‘s position; .

(2) A reduction rn the Participant‘s rate of base esalary; or

_ (3) A change of the principal location(s) at which the Participant is
required to perform services hereunder to a location more than 25 miles from his
principal location

`(i) "Effective Date" of the Plan shall mean October1,2001.

 

(])_ "Employer" means industries Training Corporation and its successors
(l<) “Highest Averaqe Compensation" shall mean the amount determined by

dividing the sum of the Participant‘s Compensation for the highest five calendar years by
five ~

(l) "Participan " shall mean any employee of the Employer or a Reiated
Employer who is covered by this Plan as provided in Article` lll.

(m) "Plan"_ shall mean the industries Training Corporation Supplemental
Executive Ftetirement Pian hereby created and as it may be amended from time to time.

(n) "Plan Administrator" shall mean the Employer.

(o) "Plan Year" shall mean the period beginning October 1, 2001 and ending
December 31, 2001; the'reafter, the 12-month period ending each December 31.

(p) '~ "Related Emgloyer" shall mean an affiliate of the Employer that the
Employer, in its sole discretion, allows to participate in the Plan.

11-2'

 

 

"`”"""Ca§§WlEW§€QT§AiZ;EAJ Docuinent 2 `Flled 1272870T"Page`10 of 30 PagelD 42

 

(q) k "Termination for Cause" shall mean

(1_) the involuntary termination of a Participant’s employment with an
Employer or a Related Employer on account of the Participant’s:

(A) knowingly engaging in acts or omissions constituting
dishonesty,` intentional breach of fiduciary obligation or intentional.
wrongdoing or malfeasance within the scope of the Participant’s
employment with the Employer or a Related' Employer; 1

b (B) conviction of la criminal violation involving fraud or
- dishonesty within the scope _of the Participant’s employment with the
Employer or a Related Employer;`or

(C) gross dereliction of duty within the scope of the Partici'pa'nt’s
employment with the Employer or a Ftelated Employer after having been
provided with written notice and a 30-day period to cure.

». (2) Notwithstanding' the foregoing, Termination for Cause shall not
include: "' “- 4 . ` ' "

(A)v any personal or policy disagreement between the Participant
and the Employer or a Related Employer; or

(B) any action taken by the P_articipant in connection with the
Participant’s duties if the Participant acted in good faith and in a manner
the Participant reasonably believed to be in, and.not opposed to, the best
interest of the Employer_or Fielated Employer, and the Participant had no
reasonable cause to believe such conduct was un'lawful.

y(`r) “¥ear.of Service" shall mean each 12-m0nth period of employment with
the Employer or a Ftelated Employer; provided, further, that periods of employment of less
than 12 months may be aggregated to complete a Year of Service. For this purpose, the
term of any Consulting Obiigation shall not be taken into account in determining Years of

Service.

4 (s) "Vesting Pe'rio " shall mean the period determined by the Participant and
the Plan Administrator in accordance with paragraph (f) of Article Vl.

ll~3

 

 

   

ARTlCLE-.iil
(a) Pian Administrator. 4

, (1) The Pian Administrator shall have complete control and discretion
to manage the operation and administration of the P,ian with ali powers
necessary to enable it to carry out its duties 1r`1 that respect Not' in limitation, but
in amplification of the foregoing, the Pian Administrator shall have the following
powers:

(A) To determine all questions relating to the eligibility of
employees to participate or continue to participate;

(B) To maintain all records and books of account necessary for
the administration of the Pian and establish such accounting procedures
as are necessary to administer the Pian;

(C)` To interpret the provisions of the Pian and to make and to
. publish such interpretive or procedural rules as are not inconsistent with

the Pian and applicable law;

(D) To compute, certify and arrange for the payment of benefits
to which the Participant or any Beneficiary is entitled;

(E) To process claims for benefits under the Pian by the
Participant or any Beneficiary;

(F) To engage consultants and professionals to assist the Pian 1
Administrator in carrying out its duties under this Pian; and

(G) .To develop and maintain such instruments as may be
deemed necessary from time to time by the Pian Administrator to facilitate
payment of benefits under the Pian. -

(2) t The Pian Administrator may designate employees of the Employer
to assist the Pian Administrator` in the administration of the Pian and perform the
duties required of the Pian Administrator hereunder.

(b) Pian Administrator’s Authoritv. The Pian Administrator may consult
with Employer’s officers, legal and financial advisers and others, but nevertheless the
Pian Administrator shall have the fuil_ authority and discretion to act, and the Pian
Administrator’s actions shail~ be final and conclusive on all parties.

(c) Claims and Appeai Procedure for Denial of Benefits. A Participant or
a Beneficiary ("Ciaimant") may file with the Pian Administrator a written claim for
benefits if the Participant' or Beneficiary determines the distribution procedures of the

111~1l

 

Case 8: 07- --cv 02369- RA|_- E m Document 2 Filed 12/28/07 PW'R of 30 PagelD 44

Pian have not provided him his proper interest in the Pian. The Pian Administrator must
render_av decision on the claim within a reasonable period of time of the Ciaimant’s
written claim for benefits The Pian Adrninistrator must provide adequate notice in
writing to the Ciairnant whose claim for benefits under the Pian the Pian Administrator
has .denied. The Pian Administratofs notice to the Claimantv must set forth:

(1) The specific reason for the deniai;

(2)` Specific references to pertinent Pian provisions on which the Pian
Administrator based its deniai;

(3) A description of any additional material and information needed for
the Ciaimant to perfect his claim and an explanation of why the material or
information is needed; and

(4) That any appeal the Ciaimant wishes to make of the adverse
determination must be made in writing to the Pian Administrator within sixty (60)
days after receipt of the Pian Administrator's notice of denial of benefitsl The
Pian Administrator’s notice must further advise the Claimant that his failure to
appeal the action to the Pian Administrator in writing will render the Pian
~Administrator’s determination finai, binding ‘ and conclusive The Pian
Admi_nistrator’s notice of denial of benefits must identify the name and address of
the Pian Administrator to whom the Ciaimant may fon/vard his appeai.

' if the Claimant should appeal to the Pian Administrator, he, or his duly authorized
representative must submit, in writing, whatever issues and comments he, or his duly
authorized representative believes are pertinent The Ciaimant, or his duly authorized
representative may review pertinent Pian documents The Pian Administrator will re-
examine aii facts related to the appeal and make a final determination as to whether the
denial of benefits is justified under the circumstances The Pian Administrator must advise

' the Claimant of its decision within a reasonable period of time of the Claimant’s written

request for review.

111-2'

ease ezo?-cv-ozsse-RAL-E V_

\ Document2 Filed12/28/07 Pa§lsof 30 PagelD 45

 

AF{T|CLE iV

Eliqibiiitv and Participation

(a) _ Eiig`ibiiig¢. 'The Employer or a Fielated Employer, in its sole discretion,
shall determine those employees of the Employer or the Fielated Employer eligible to
participate in the Pian. An employee, who, in the opinion of the Employer or Ftelated
Employer, has contributed significantly to the growth and successful operations of the
Employer or a Reiated Employer will be eligible to become a participant

l (b) Particip_ation. An eligible employee shall become a Participant upon
notification from the Employer or Ftelated Employer.

1\/-1

 

,g.,

mw§'ase 8:07-' - k _“ ’/_ - "" y
l l cv 02369 RAL EA.] Document 2 Flled 12/28/07 P§§ 14 of 30 PagelD 46

Anrich-: v

l Benefits

(a) Supolemental Fietirement Benefit. The Participant’s supplemental
retirement benefit shall be determined as an annual benefit, payable over a 15-year
period, equal to the percentage of the Participant’s Highest Average Compensation
determined in subparagraph (1), offset by the amount described in subparagraph (2) as

~ follows:

(1) The percentage of the Participant’s Highest Average Compensation
shall be based upon his Years of»Service as set forth below:

 

 

 

Years of Sewice Percentage of Highest
4 ‘ ` Averaqe Compensation
At least 10 Years of Service 40%

 

.At least 11 Years of Service but
less than 16~Years of Service 1 45%

 

At least 16 Years of Service but
less than 20 Years ot Service 50%

l\/lore than 20 Years of Service -60%

 

 

 

 

 

(2) ' The Actuariai Equivaient of the Participant’s accrued benefit under
(A) the Pride Defined Benefit Pension Pian, and (B) any other tax-qualified
(inciuding Section 403(b) of the Code) retirement plan maintained by an
Employer or a Related Employer, but only to the extent such accrued benefit is
attributable to contributions made by an Employer or a Fielated Employer (other
than elective contributions), at the time the Participant’s supplemental retirement
benefit under this Pian commences. '

(b) TimingLand Form of Benefit Pavment.

(1) The distribution of a Participant’s vested interest in his Accrued
Benefit shall be paid as soon as administratively practicable following the earlier
of: '

(A) the last day of a Vesting Period; or

(B) the Participant’s termination of employment with the
Employer or a Reiated Employer due to his disability or death, or an event
described in paragraph (e)(.t) or (e) (2).

v~1 '

 

'CaS€ 8207-CV-02369-RAL-EA_;__m DOCUI'Tl€n'[ 2 Filed 12/28/07 ‘Pa ‘15 Of 30 Page|D 47

   

(2) The Participant’s Accrued Benefit shall be paid in the form _of:

(i) A single lump sum payment of the Actuarial Present
Value of the Participant’s Accrued Ben~efit; o_r

(ii) Subject to the discretion of the Pian Administrator ita
Participant agrees at least 13 months prior to the end of his Vesting
Period that he will terminate employment with the Employer or a
~Ftelated Employer as of the end of the Vesting Per_iod and provide
consulting services pursuant to a Consuit_ing Obiigation, payment
will be made in annual installments over the term of the Consulting
Obiigation (not to exceed 5 years) as set forth in paragraph (h)
below.

(c) Disabiiity Benefit,

(1) in the event the Participant’s employment with the Employer or
Related Employer' 1s terminated by reason of his disability, such Participant shall
be -fuliy vested and entitled to a supplemental retirement benefit, paid in
accordance with paragraph (b), in an amount equal to the Actuarial Present
Value of his Accrued Benefit determined as of the date of his termination of

employment

(2) The term "disabiiity" shall mean the inability of a Participant to
perform the usual duties of his employment with the Employer or a Related
Employer as determined in the discretion of the Pian Administrator.

(d) Death Benefit. in the event of the death of a Participant prior to the
commencement of his benefit, the Participant’s Beneficiary shall be entitled to a death
benefit, paid in accordance with paragraph (b), in an amount equal to the Actuarial
Present Value of his Accrued Benefit determined as of the date of his death.

(e)v Termination of Emplovment.

(1) ` in the event a Par_ticipant’s employment with the Employer or a
Reiated Employer is involuntarily terminated without cause prior to the end of his
Vesting Period, the Participant shall be fully vested in his Accrued Benefit.

(2) . in the event a Participant voluntarily terminates employment with
the Employer or a Reiated Employer prior to the end of his Vesting Period on
account of a Constructive Dlscharge, the Participant shall be fully vested in his
Accrued Benefit

(3) in the event a Participant voluntarily terminates hisl employment
with the Employer or a Ftelated Employer prior to the end of his Vesting Period
without experiencing a Constructive Discharge, the Participant shall forfeit his

Accrued Benefit.

 

 

ease szo?-cv-ozsse-RA`[-"EA,J Docu‘rnentz` Filed 12/23/07 Pa-

n 16 of 30 PagelD 48

   

(4) in the event a Pa_rticipant terminates employment with the Employer
or..a Reiated Employer by reason of a Termination for Caus'e, prior to the end of
his Vesting Period, the Participant shall forfeit his Accrued Benefit.

(.1) ' vestinq Peri¢d: Extensron or vestinq Perioa.

(1) (A) A Participant’s Accrued Benefit shall be considered fully
vested and nonforfeitable when the Participant has continued employment
with the Employer ora Related Employer for a period agreed to by the
Participant and the _Plan Administrator (the,"Vesting Period“) at the time
the Participant commences participation in the Pian. 'The Vesting Period

, shall be set forth in a_ written instrument signed by the Participant and the
Pian Administrator. '

(B) The Vesting Period shall.be measured from the date a

Participant is eligible to participate in this Pian and the minimum Vesting
Period shall be two years. `

(Cj_ Notwithstanding the foregoing, a Vesting Perio.d will be
deemed to end upon the occurrence of an event that results in full vesting.

(2) 1 A Participant and the Pian Administrator may jointly make a one-
time,irrevocable election to extend the Vesting Period. Such election must be '
made at least thirteen (13) months prior to the date on which the Vesting Period
otherwise would have ended in accordance with the original applicable Vesting
Period eiection. Any extension of the Vesting Period may not be less than 2
years, measured from the end of the original Vesting Period,

(3) ,if a Participarit and the Pian Administrator elect to extend the
Vesting Period in accordance with paragraph (f)(2) above, the provisions of this
Pian shall apply as if the Vesting Period would have originally expired on the
extended date. it' is intended that a timely election to extend the Vesting Period y
shall not entitle the Participant to have any nonforfeitable right to receive, or '
beneficial interest in, his Accrued Benefit or any asset of an Employer or a
Ftelated Employer on the date specified in any election in effect before the
election to extend in accordance with paragraph (f)(2).

(g) Tax Withholding. The Employer may withhold, or require the withholding
from any benefit payment which it is required to make, any federal, state or local taxes
required by law to be withheld with respect to a benefit payment land such sum as the
Employer may reasonably estimate as necessary to cover any taxes for which the
Employer may be liable and which may be assessed with regard to such payment
Upon discharge or settlement of such tax liability, the Employer shall distribute the
balance of such sum, if any, to the Partioipant, or if the Participant is then deceased, to
the Beneficiary of the Participant. Prior to making any payment hereunder, the
Employer may require such documents from any taxing authority, or may require such

 

 

indemnities or surety bond as the Employer shall reasonably deem necessary for its '

protection

(h)

Pavment Under Consulting Obligation.

(1) (A) Subject to paragraph (b) 'above, the Actuarial Present Value
of the Participant’s Accrued Benefit shall be payable to the Participa`nt in
annual installments commencing on his termination of employment date
and thereafter on each of the anniversary of his termination of
employment date for the term of the Consulting Obligation The amount of
each installment payment shall be calculated by dividing the Actuarial
Present Value of the Participant’s Accrued Benefit as of the initial payment

- date by the number of installment payments remaining to be made
' (including the installment payment which 1s then being made)

(B)y Notwithstanding anything in (A) above, the Pa`rticipant shall
be entitled to an installment payment after the first payment only if:

(i) his performance of services during the prior 12-month
period satisfies the Consulting Obligation;

(ii) the F’articipant is excused from satisfying his
Consulting Obligation for the prior 112-month period by the Employer
or a Fielated Employer; or

(iii) the Participant is unable to satisfy the Consulting
Obligation for the 112-month period due to injury or illness as
determined by the Employer or a Fieiated Employer in its sole
discretion

(C) if the Particip_ant fails to satisfy his Consulting Obiigation
during any 12 month period for any reason other than (ii) or (iii) above, the
installment payment otherwise payable with respect to such period shall
be irrevocably forfeited

(2) ' Notwithstanding the foregoing, if the Participant incurs a disability

during the period of his Consulting Obiigation, the remainder of the Participant’s
benefit shall be paid to him in a lump sum as soon as practicable after such

disability commences.

(3) if the Participant dies during the period of his Consulting Obiigation,

the remainder of the Participant’s benefit shall be paid to a Beneficiary in a lump
sum as soon as practicable after his death.

(ll

Forfeitures. Forfeited amounts under this Pian shall remain the property

of the Employer or Reiated Employer or, if applicabie,.the trust established pursuant to

_ Articie V.

v-4 `

 

 

 

   

Case 8:07-cv-O2369-RAL-EA Document 2' Filed 12/28/07 P.,:B; 18 of 30 PagelD 50

§
U

AnncLE vi

Financing

, (a) Financing. The benefits under this Pian,» and the expenses of
administering the Pian and maintaining any trust created pursuant to paragraph (d) of
this Articie l.V, may be paid out of the general assets of the Employer or a Fteiated
Employer or any trust. . _

(b) No Trust.Created. Nothing contained in this Pla,rl, and no action taken
pursuant to the provisions of this`Plan, shall create or be construed to create a funded
plan, a trust_of any kind or a fiduciary relationship between the Employer or the Related
Employer and the Participant, his Beneficiary or any other person

(c) U-nsecured interest The Participant shall not have any interest
whatsoever in any specific asset of the Employer or Fielated Employer. To the extent
that any person acquires a right to receive payments under this Pian, such right shall be
no greater than the right of any unsecured general creditor of the Employer or Fteiated
Employer.- `

._.»-
~

(d) Establishment of Trust.

(1) The Employer and a Fielated Employer may establish one or more
trusts substantially in conformance with the terms of the model trust described in
Revenue Procedure 92-64 to assist in meeting its obligations to Participants
under this Pian Except as provided in paragraph (b) above and the terms of the
trust agreement any such trust or`trusts shall be established in such manner as
to permit the use of assets transferred to the trust and the earnings thereon to be
used by the trustee solely to satisfy the liability of the Employer or a Ftelated
Employer in accordance with the Pian '

(2) The Employer or a Related Employer, in its sole discretion, and
from time to time, may make contributions to the trust. Uniess othen/vise paid by
the Employer or a Ftelated Employer, all benefits under the Pian and expenses
chargeable to the Pian shall be paid from the trust.

(3) The powers, duties and responsibilities of the trustee shall be as
set forth in the trust agreement and nothing contained in the Pian, either
expressly or by implication shall impose any additional powers, duties or
responsibilities upon the trustee.

(e) Subject to Ciaims. The Pian constitutes an unsecured promise by the
Employer or a Reiated Employer to pay benefits in the future. Participants employed by
the Employer shall have the status of general unsecured creditors of the Employer.
Participants employed by a Reiated Employer shall have the status of general
unsecured creditors of such Reiated Employer. The Pian is unfunded for Federai tax
purposes and for purposes of Title i of the Employee Ftetirement income Security Act of
1974. Ail amounts credited to the Participants’ Accounts.wiii remain the general assets

v1~1`

CaS€ 8207-CV-02369-RAL-E

     

DOCUI'Tl€n'[ 2 Filed 12/28/07 P.:§T‘§ 19 Of 30 Page|D 51

d Employer and shall remain subject to the claims of the

of the Employer or a Ftelate _
Employers’ creditors untii'such amounts are distributed to

Employe,r’s and the Related
the Participants.

vi-a

RAL-EAJ Document 2'" Filed 12/23/07 Pae 20 of so Pagelo 52
. £.H 4 farms -

" ease 8:0'7-1`;`\/-02369

ARTlCLE Vll

Amendrn`ent and Termination

_ (a) Amendments and Termination. The Pian may be amended at any time,
or from time to time, by the Employer, and the Pian may be terminated at any time by
the Employer. Any such amendment or termination shall be ratified and approved by
the board of directors . _

(b) Effect of Amendment or Termination.

-(1) i\lo amendment or termination of the Pian shall affect the rights of
any 'Participant’s Accrued Benefit as of the date of such amendment or
termination

(2) Upon termination of the Pian the Pa`rticipants `(or their Beneficiaries)
shall be.paid in a lump sum equal to the Actuarial Present Value of the
Participant’s Accrued Benefit, as soon as administratively practicable following

~ such termination `

_~

vii-1

 

 

_ Case 8:07-cv-O2369-RAL:EA.I]W Document 2 Filed 12/28/07 ,Pa 21 of 30 PagelD 53

  

AHTlCLE Vlii

lilliscelianeous

 

. (3) Pavments to l\ilinors and incompetents. if ’the Pian Administrator
receives satisfactory evidence that a person who is entitled to receive any benefit under
the Pian, at the time such benefit becomes available, is a minor or is physically unable
or mentally incompetent to receive such benefit and to give a valid release therefore,
and that another person or an institution is then maintaining or has custody of such
person, and that no guardian, or other representative of the estate of such person shall
have been duly appointed,` the‘Plan Administrator may authorize payment of such
benefit otherwise payable to such person to such other person or institution; and the
~ release of such other person or institution shall be a valid and complete discharge for
the payment of such benefit. 4 '

(b) Pian Not a Contract of Emplovment. The Pian shall not be deemed to
constitute a contract between the Employer or a Related Employer and the Participant,
nor to be consideration for the employment of the Participant. Nothing in the Pian shall
give the P~articipant the_ right to be retained in the employ of the Employer or a Fteiated
Employer; the Participant shail~ remain subject to discharge or discipline as an employee
to the same extent as if the Pian had not been adoptedi

(c) Non-Aiienation of Benefits. No benefit under the Pian shall be subject in '
any manner to anticipation alienation sale, transfer, assignment pledge, encumbrance
or charge, and any attempt to do so shall be void. No benefit under the Pian shall in
any manner be liable for or subject to the debts, contracts liabilities engagements or
torts of any person if any person entitled'to benefits under the Pian shall become
bankrupt or shall attempt to anticipate, alienate, sell, transfer, assign pledge, encumber
or charge any benefit under the Pian, or if any attempt shall be made to subject any
such benefit to the debts, contracts liabilities, engagements or torts of the person
entitled to any‘such benefit, except as specifically provided in the Pian, then such

' benefits shall cease and terminate at the discretion of the Pian Administrator. The Pian
Administrator may then hold or apply the same or any part thereof to or for the benefit of
such person or any dependent or Beneficiary of such person in such manner and
proportions as it shall deem proper.

(d) State `Law. This instrument shall be construed in accordance with and
governed by the laws of the State of Florida, to the extent not superseded by the laws of
the United States. a

(e) No interest in Assets. Nothing contained in the Pian shall be deemed to
give any Participant any equity or other interest in the assets, business or affairs of the
Employer or a Related Employer. No Participant in the Pian shall have a security
interest in assets of the Employer or a Reiated Employer used to make contributions or
pay benefits ' `

Vlll-1

 

Case 8: 07- --cv 02369- RA|_- EA§ Document 2 Filed 12/28/07 Pa§& of 30 PagelD 54

(f)v Ftecordkeeping. Appropriate records shall be maintained for the purpose
of the Pian, subject to the supervision and control of the Pian Administrator.

(g) Gender. Throughout this Pian, and whenever appropriate, the masculine
gender shall be deemed to include the feminine and neuter; the singular, the plurai; and
vice versa.

(h) Liability Limited. in administering the Pian neither the Pian Administrator
nor any officer, director or employee thereof, shall be liable for any act or omission
performed or omitted, as the case may be, by such person with respect to the Pian;
provided, that the foregoing shall not relieve any person of liability for gross negligence,
fraud or bad faith. The Pian Administrator, its officers, directors and employees shall be
entitled to rely conclusively on ali tables, valuations, certificates opinions and reports
that shall be furnished by any actuary, accountants trustee, insurance company,
consultant, counsel or other expert who shall be employed or engaged by the Pian
Administrator in good faith.

(i) Protective Provisions. Each Participant shall cooperate with the Pian
Administrator by furnishing any and all information requested by the Pian Administrator
in order to facilitate the payment of benefits hereunder, taking such physical
examinations as the Pian Administrator may deem necessary and taking such other
relevant action as may be requested by the Pian Administrator. if a Participant refuses
so to cooperate or makes any material misstatement of information or nondisclosure of
medical history, then'no benefits will be payable hereunder to such Participant or his
Beneficiary, provided that, in the Pian Administrator’s sole discretion, benefits may be
payable in an amount reduced to compensate the Employer or a Fteiated Employer for
any ioss, cost,¢ damage or expense suffered or incurred by the Employer or a Fielated
Employer as a result in any way of such action, misstatement or nondisclosure

lN WiTNESS WHEREOF, this Pian is effective as of the date first written above
and has been executed on the dates written below.

lNDUSTR|ES TRAlNiNG CORPORAT|ON

/0/0//0/ sy: %///97 319

Date ~ its \/1£;€ 17?<2511'§’€11;7` H-:~,,os/¢~

"ElVlPLOYER"

141001 .6
5321 .980527

\/lli~2

 

 

ass’S*O?‘"CV©'Z‘B€@'RN:“E`A_ ®UCUFTTEW“'FTled”l
C T 2728/07 Page 23 of 30 PagelD 55

   

SEPARA'I`ION AGREEMENT AND RELEASE

This Separation Agreement and Release (hereinafter referred to as “Agreement”) is
entered into by and between W]LLlAl\/l. R NOBLE (hereinafter referred to gas “Noble”) and
lNDUS'IRlES TRA]I\UNG CORPGRATION/PRIDE ENTERJ?RISES, and its respective present,
past and future affiliates predecessors heirs, successors assigns, insurers employers, parents,
and subsidiaries (including, but not limited to, Labor Line, lnc.), and each and every one of their
respective servants, ofdcers, directors employees agents, owners, principals controlling

' persons, limited and general parmers, relatives, representatives joint ventures benehciaries,
trustees shareholders alter eg_os,' attorneys and experts (hereinafter referred to collectively as
“lTC”).

WlIElREA_S, Noble has been employed by lTC in the position of President of Labor Line;
and 1

WHEREAS, the parties have determined it is in their mutual interests that Noble'no
longer be employed by lTC; and

WI~IEREAS, the parties desire to fully and completely resolve and settle any and all
claims, known and unlmovvn, which the parties had, have or may have relating to the
employment or cessation of employment ofNoble by l"].`C.

l. Noble hereby'tenders his resignation h'om his employment effective lanuary 7,
2002, and lTC accepts Noble’s voluntary resignation effective that same date.

2. NOW, THEREFORE, in consideration of the parties assuming the obligations as set
forth below, and other than as to the express rights and obligations set forth in this Agreement, and

in consideration of the provisions promises terms and conditions of this Agreement, both parties

62106__2.1:)0€

 

.Case 8107-cv-02369-RAL-EAJ§§ocument 2 Fi|e_d 12/28/07 Pag£4 of 30 Page|D 56

do hereby'EXPRESSLY AND UNCONDIH@NAILY FULLY Al\iD HNAILY REIEASE AND
FOREVER DISCHARGE' each other and their respective servants officers, directors employees
agents controlling persons relatives representatives joint ventures beneficiaries trustees alter
egos attorneys and experts from any and all duties claims rights complaints charges damages
costs expenses attomey’s fees debts_demands actions obligations liabilities and cause of action,
~of any and every kind, nature, and character whatsoever, whether known or unknown, whether
arising out of contract, tort, statute, settlement equity or otherwise, whether known or unknown
v whether foreseen or unforeseen, whether past, present, or future, whether erd, liquidated or

contingent, which they ever had, has or may in the future claim to have had against each other

-

based on any act or omission concerning any matter, cause, or thing arising prior to the date of this
Agreement and up to the time of execution of this Agreement by all parties including but not
limited to, those directly or indirectly arising out of or relating or in any way pertaining to a claim of
discrimination or unlawful conduct arising under, as amended, the Florida Civil Rights Act, Title
Vll of the Civil Rights Act, the F air Labor Standards Act, the Americans with Disabilities Act, the
Age Discrimination in Employment Act, the Older_ Worl{ers Beneht Protection Act, the Florida or
United States Constitution, or under any otherfederal, state or local statute orlAct, ordinance,
regulation ~custom, rule or policy, or any cause of action in common law, including but not limited
to actions in contract or tort, including any intentional torts or any instruments agreements or'
documents entered into by, between, or among the parties (save and except for any claim under
ERISA which may arise in the tilture).

3. lt is further understood that in agreeing to this release, both parties mutually

hereby waive any and all rights or benefits which they have, had or may have under the:

ea~ios_z.noc v ` 2

 

ease "s:o'?-¢v-ozaea-RAL-EAJ Document 2 Filed '12/28/07 Page 25 or so Pagelu 57

 

(l) Florida Civil Rights Act of 1992, Americans with Disabilities Act, Title Vll of the _Civil
Rights Act of 1964, as amended, Workers Adjustment and Retraining Notiflcation Act, the Age
Discrimination inv Employment Act, the Older ¢Workers Benefrt Protection Act, or any
amendments or revisions thereof or thereto; (2) any other federal, state or local law prohibiting
discrimination or discharge from employment and (3) any cause of action recognized at common
law for employment discrimination or wrongful'discharge, expressly including all claims and
causes whether at law or'equity, contract or tort, including negligence
4. Noble, now and for the future, expressly waives releases and surrenders any right
_or opportunity to and will not seek any relationship, including that of independent contractor,
agent, or consultant, rior will he seek employment, reemployment or reinstatement to
employment with l'l`C, its successors assigns parent, subsidiaries affiliates and related
companies and further agrees that neither lTC nor any of the foregoing entities will, at any time,
be under any obligation to employ or contract with him except as otherwise provided herein._
.Noble hirther agrees that should any application be made by him in contravention of the
provisions of this Agreement, neither lTC nor any of the foregoing entities shall have any
obligation to process that application or to hire or retain him in any manner, and that failure to
process the application or to hire or retain him in any manner shall not constitute a violation of
any local, state, or federal law, order or regulation, or this Agreement.
j 5. t Noble iiirther agrees that he will refrain from conducting himself in a manner
which (i) harasses or interferes with lTC and/or its officers directors agents and/or employees
or (ii) holds ITC, its officers, directors agents and/or employees up to ridicule in the community

or jeopardizes the business and/or reputation of l’l`C.

62106_2.Doc 3

 

 

C_ase 8:O7"-cV-02369`-RKE#EATUocUHi§ht“Z"' Fl|ed lZ]?S'/U?"ljage 26 ot 30 PagelD 58

6. ' Noble and lTC agree that the terms of this Agreement, specifically including but
not limited to the fact that the parties have entered into a Separation Agreement, are coniidential,
and 'Noble and lTC further agree not to divulge such terms other than to their respective
accountants attorneys the lnternal Revenue Service, or as'otherwise required by law; provided,
however, that'ITC" may disclose such information to the extent necessary based on legitimate
business reasons Nothing herein is intended to preclude Noble from disclosing that he resigned
his employment to pursue other interests so long as the existence of this Agreement is not
disclosed or'the fact that a severance payment was made. The foregoing covenant not to disclose
shall be binding upon both parties their attorneys and those to Wh'om they may disclose the
terms of this Agreement for income tax reporting purposes. The agreement of Noble and lTC to
be bound is indicated by their respective signatures a:[iixed hereto. Their signatures hereto also
indicate their agreement that this provision is a material element of the Agreement and is
consideration for lTC entering into this Agreement. ln the event that any party or representative
of a party receives a demand to disclose such information under actual or potential compulsion of
legal process the other party shall be promptly notiiied in writing, with such notiiication also
being made to counsel for the respective parties to this Agreement. The party or representative to
whom the demand is made shall also notify the person or entity making the demand in writing
that the information sought is confidential and that the other parties to the Agreement request an
opportunity to consider and possibly to object to the demandand shall provide those parties with
a copy of such notification

7. In further consideration of the agreements above, lTC agrees to provide to Noble

separation pay in an amount equal to one year of salary of Noble’s current regular pay

szios_z.ooc 4

ease azo?-cv-ozseQ-RAL-EA

Document 2t Filed 12/28/07 Pag 27 ot 30 Page|[_) 59

   

(55150,000".00),. less applicable deductions as required by lavv.v Payment of the foregoing sums
shall be made in one lump-sum payment, which shall be payable Withinthirty (3 O) days from lTC
counsel’s timely receipt of the signed and notarized original of this Agreement bearing Noble’s
signature The above-described terms of this Agreement only become operative upon then
payment of the aforementioned sums l

"8. In addition to the foregoing payment enumerated in Paragraph 7 above, and in
nnther consideration of the terms and conditions of this Agreement herein, lTC agrees that Noble

shall be entitled to retain all monetary payments, including but not limited to any and all

severance payments, that he has already received from lTC as of the effective date of this

.4

Agreement.

9. lTC further agrees to provide Noble With six (6) months of out~placement services
through lTC’s outplacement program. Noble understands and agrees that he is responsible for
complying with the terms and requirements of lTC’s out-placement services, and that lTC does
not guarantee or promise any employment results or opportunities as a result of Noble’s use of
the out~placement services

lO. y As hirther consideration for this Agreement, lTC agrees that Noble shall maintain
his vested interest in lTC’s SERP plan

ll. ln agreeing to the terms of this Agreement and by paying the consideration set
forth above, neither ll`C nor the Released Parties admit any liability to Noble, whether arising out
of Noble’s employment relationship or cessation thereof with lTC and the Released l’arties or
otherwise, and lTC and the Released Parties hereby expressly deny the existence of any such

liability, Noble further agrees that lTC and the Released Parties have not incurred any liability to

62106_2.1)0€ ' 5

 

, .. _‘_ _- |_|_A'l.l-\ …,,.`__,_..,...i ~- d
~_---Ga’ 39~8~0¥*€\1~0. ZSGQRAL l:/-\.i uocumem a l-neo r¢/¢e/u/ Page 38 ot 30 Page|D 60

s

Noble, whether arising out ofNoble’s employment relationship or cessation thereof with lTC and
the Released Parties or otherwise v

lZ. ln the event of litigation between the parties hereto, their successors or assigns,
arising out of or in connection with this Agreement, the prevailing party in any such action shall
be entitled to receive reasonable attorney’ s fees and costs and appellate attorney’ s fees and costs
incurred in connection therewith . The venue of any claim or complaint arising out of this
Agreement shall be in Pinellas County, Florida. How_ever, each Party hereby agrees to waive the
right to seek any additional payment of attorneys’ fees or costs incurred in connection with the
v subject matter of this Agreement prior to the effective date of this Agreement.

13. Noble BEHC qagree that this Agreement supersedes all other prior agreements
between them, and Noble understands and agrees that the terms and conditions of this Agreement
constitute the iiill and complete understandings, agreements, and promises of the parties, and that
there are no oral or written understandings agreements, promises, or inducements made or offered
other than those set forth ~herein. The undersigned parties acknowledge that they have each read the
Agreement and that they are iiilly aware of its meaning, contents, and of its signiiicance and legal
effect The parties each acknowledge that they have entered into this Agreement knowingly,
voluntarily, and after having a reasonable time to consider its terms and importance

l/-l'. Noble understands that he is not entitled to receive any of the benefits outhned m
this Agreement if he does not sign the Agreement, and he understands that'he may revoke this
Agreement within seven (7) days of signing it. To be effective, this revocation must be in
writing and received by either facsimile transmission or United States Mail by counsel for lTC

within the seven-day revocation period Noble understands that if he revokes this Agreement, as

ezroe_z.noc 6

tC'a,$e _8:07-cV-02369-RAL-EASDOCument 2 Fi|e_d 12/28/07 Pa@$? of 30 Page|D 61

outlined above, that this Agreement will not be effective or enforceable and he will not be
eligible to receive any benefits under this Agreement.

l5. ` Should any provision of this Agreement be declared or determined to be illegal,
invalid or unenforceable, the legality, validity, and enforceability of the remaining parts,_terms or
provisions shall not be effected thereby, and said illegal, unenforceable or invalid part, term or
provision, shall be deemed not to be part of this Agreement. y

l6. This Separation Agreement and Release may be executed in several counterparts,
each of which shall 'be deemed an original

l7. d The parties hereby agree to execute whatever documents are reasonably required
to facilitate or effectuate this Agreement.

18. This Agreement may not be changed or altered except by a writing signed by both
Noble and the President or other authorized representative of lTC.

19. Noble represents and warrants that he has entered into this Agreement voluntarily,
and that he is authorized to enter into and has the authority to perform the terms of this
Agreement. Noble further represents and warrants that he has not sold, assigned, transferred
conveyed or otherwise disposed of all or any portion of the Released Claims.

20. NOBLE ACKNOWLEDGES TH.AT HE HAS READ AND UNDERSTANDS
A.LL OF THE TERMS OF THlS AGREEMENT. NOBLE HAS BEEN ADVISED T0
CONSULT, AND HAS éONSULTED WlTH, AN\ ATTORNEY PRIOR TO SlGNlNG TH[S
AGREEMENT. NOBLE UNDERSTANDS 'I'HAT WHET.EIER OR NOT HE CONSULTS
Wl`Il`:E[ AN ATTORNEY lS HIS DECISION. NO`BLE HAS BEEN OFFERED THE

OPPORTUNITY TO TAKE UP TO 21 DAYS TO CONSIDER TH[S AGREEl\/EENT.

52105_2.1)0€ 7

 

ease a 07 cv ozse“a-RAL-`EAJ Document2 Filed 12/23/07 Page 30 of 30 PagelD 62

 

ll\_l_ Wl'l`NESS WHEREOF, the parties have executed this Agreement

treaties ferry

 

 

» Date: Ma/)/r/l. 7/ aco?_, ~
' WELMMR NoBLE
State of Florida . }
County of Pinellas §
___Mfi'_’oi::______, 2002, by

' 7a day of v

Sworn to and subscribed before me this
WILLIAM R`. NOBLE, who is personally known to me or who has produced FL Dv ca nurse

as identification

 

 

 

 

 

 

 

 

 

 

 

 

[\5 ill 0 ‘i`.§é'°i 74 270
' thary rubric
servs seagram
§§ MYcoMM\sSogr;r;nzcgéaw_s<asts b@d(p} ,@_ g@d ogng
"’*"iz': ` MT"R”W°Y§N"'M‘“° Printed Name and Commi`ssion #/Exp.
]NDUSTRIES TRA]NING CORPORATION/
PR[DE ENTERPRISES
, . . v
/ //QMM
Date: j/ /'i/%a?’~ erda/g
» / / PrintName: /D/?/iiéa¢-’.l 4a
Pnnrriue. P/&ar/r>e/o ~r
' State ofFlorida }
1 }
County of Pinellas } . q
~ 6 Sworn to aj subscribed be me this / 7T/\day of 2315ng , 2002, by
{;?,Mrgi&\ R\ 0 otv l 5 , as rem Ci€n of Indusu'ies Training Corporation/
Pride Enterprrses, who is personally known to me or who has produced_______________________
4 , as identification @W/ @ML/(/{
caarsasssar=m" N t P bli
aff %° choMMrss:oN #00766121 ' / 0 ary/ u c
' '=g._ EX~PiHES: Augusta& 2002 §
-. "/`~;WW°W acndedrhmuuarypubrcunde:wmars UN»‘.:)' f"Q§ Q`€/ci`
` Printe_d Name an dCommission #/Exp.
8

62106_2.Doc

